J-A16021-16


NON-PRECEDENTIAL DECISION - SEE SUPERIOR COURT I.O.P. 65.37

ELIZABETH GARSTECKI, AS                        IN THE SUPERIOR COURT OF
ADMINISTRATRIX OF THE ESTATE OF                      PENNSYLVANIA
RHODA BALDWIN, DECEASED

                          Appellant

                     v.

ASTER ASSEFA, M.D.; ASTER ASSEFA,
M.D., P.C.; AND MEDICAL LABORATORY
SERVICES, INC., D/B/A DIAMOND
PHARMACY

                          Appellees                No. 1222 WDA 2015


               Appeal from the Judgment Entered August 3, 2015
             In the Court of Common Pleas of Westmoreland County
                      Civil Division at No(s): 4251 of 2012


BEFORE: SHOGAN, OLSON and STRASSBURGER,* JJ.

MEMORANDUM BY OLSON, J.:                      FILED NOVEMBER 17, 2016

     Appellant, Elizabeth Garstecki, as administratrix of the estate of Rhoda

Baldwin, deceased, appeals from the judgment entered on August 3, 2015.

We affirm.

     On July 11, 2012, Appellant filed a complaint naming, as defendants,

Aster Assefa, M.D., Aster Assefa, M.D., P.C., and Medical Laboratory Service,

Inc., d/b/a Diamond Pharmacy (hereinafter collectively “Defendants”). The

complaint raised wrongful death and survival claims and, in the complaint,

Appellant averred the following.

     In 2001, defendant Dr. Aster Assefa (hereinafter “Dr. Assefa”) became

the primary care physician of Rhoda Baldwin (hereinafter “Ms. Baldwin”). At

*Retired Senior Judge assigned to the Superior Court.
J-A16021-16



the time, Ms. Baldwin “was in a general state of good health with mild

mental retardation.” Appellant’s Complaint, 7/11/12, at ¶¶ 7-8.

     In 2009, Ms. Baldwin “was diagnosed with dilated cardiomyopathy, a

condition that required [her] to be treated with [warfarin], also known as

Coumadin, to decrease the risk of developing ischemic stroke.” Id. at ¶ 9.

As Appellant averred, following the diagnosis, Dr. Assefa prescribed Ms.

Baldwin Coumadin and managed the international normalized ratio (“INR”)

levels of Ms. Baldwin’s blood, in an attempt to safely provide Ms. Baldwin

with a therapeutic level of the drug.    See id. at ¶¶ 10-11.     Appellant

averred:

        13. On August 12, 2010, [Ms. Baldwin’s prothrombin time
        (“PT”) and INR] were still below the therapeutic level.

        14. In response, [Dr. Assefa] changed [Ms. Baldwin’s]
        Coumadin dosing to 10 mg on Monday, Tuesday,
        Wednesday and Friday and 7.5 mg on all other days of the
        week. The total weekly dose of Coumadin intended was
        62.5 mg.

        15. This prescription change, if communicated to [Ms.
        Baldwin,] took place by means of a telephone conversation.

        16. On August 17, 2010, [Dr. Assefa] wrote a prescription
        as: “Warfarin Sodium 7.5 mg tablet. Take one tablet by
        mouth as directed. Refills 5. Quantity 30.”

        17. On August 17, 2010, [Dr. Assefa] wrote a second
        prescription as: “Warfarin Sodium 10 mg tablet. Take one
        tablet every day as directed. Refills 5. Quantity 30.”

        18. [Ms. Baldwin] presented these prescriptions to
        [defendant     Diamond     Pharmacy,]     which filled the
        prescriptions and labeled the bottles as:


                                   -2-
J-A16021-16


            a) “Warfarin Sodium 7.5 mg tablets. Take one tablet by
            mouth as directed[]”; and

            b) “Warfarin Sodium 10 mg tablets.      Take one tablet
            every day as directed.”

        19. [Ms. Baldwin] followed the instructions on the pill
        bottles and took 7.5 mg tablets on Thursday, Saturday and
        Sunday and 10 mg tablets every day.

        20. The total weekly Coumadin dose taken by [Ms.
        Baldwin,] who was following the pill bottle instructions[,]
        was 92.5 mg.

Id. at ¶¶ 13-20.

     Appellant averred that, on August 26, 2010, Ms. Baldwin visited with

Dr. Assefa “in order to obtain pre-operative clearance for cataract surgery.”

Id. at ¶ 21. During this visit, Dr. Assefa “did not address [or] discuss [Ms.

Baldwin’s] anticoagulation” and Dr. Assefa did not order an INR test. Id. at

¶¶ 22-23.

     As Appellant averred, on September 1, 2010, Ms. Baldwin “awoke

screaming in pain and speaking incoherently.” Id. at ¶ 24. Ms. Baldwin was

then taken to the hospital, where she was diagnosed with a “diffuse

hemorrhage throughout the midbrain, anterior pons and right cerebellar

peduncle” and with an INR that was “extremely elevated at 7.3.”       Id. at

¶¶ 25-26.   That day, Ms. Baldwin died from “an intracranial hemorrhage

caused by excessive Coumadin overdose.” Id. at ¶ 27.

     Within Appellant’s complaint, Appellant claimed (among other things)

that Dr. Assefa was negligent in “writing a prescription order that was




                                    -3-
J-A16021-16



wrong, confusing and misleading” and “writing a prescription order that

prescribed and caused an overdose of medication.” Id. at ¶ 33(j) and (k).

        Prior to trial, Appellant filed two motions in limine, wherein Appellant

sought to preclude evidence that, prior to August 17, 2010, Ms. Baldwin had

been non-compliant with her prescription medication instructions.          See

Appellant’s Motion in Limine to Exclude Character Evidence of Rhonda

Baldwin’s Past Failure to Follow Prescription Instructions, 2/20/15, at 1-3;

Appellant’s Motion in Limine to Exclude Expert Reports of Dr. Chris T.

O’Donnell and Dr. Anthony F. Pizon, 2/20/15, at 1-5.              According to

Appellant, such evidence was inadmissible under Pennsylvania Rule of

Evidence 404(a)(1), as the evidence was only relevant to prove that Ms.

Baldwin’s “past failure to follow prescription instructions [demonstrated that]

she would have acted in the same manner when being prescribed

[Coumadin] during this incident.”     Appellant’s Motion in Limine to Exclude

Character Evidence of Rhonda Baldwin’s Past Failure to Follow Prescription

Instructions, 2/20/15, at 2. Thus, Appellant claimed, “any evidence of Ms.

Baldwin’s past failure to follow prescription instructions is inadmissible to

prove she would have acted in accordance with this character trait during

the time at issue, which includes proving her comparative negligence.” Id.

at 3.

        On May 11, 2015, the trial court denied Appellant’s motions in limine

and the parties proceeded to trial. During trial, Appellant put forth evidence

that “Dr. Assefa and her office fell below th[e] standard of care in issuing the

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J-A16021-16



wrong [Coumadin] prescription, in not clarifying for [Ms. Baldwin] exactly

what she wanted [Ms. Baldwin] to take when she changed [Ms. Baldwin’s]

prescription and then in not following up with [Ms. Baldwin] when [Ms.

Baldwin] came back in when she had the chance to find her mistake and see

what was going on with the patient and monitor her correctly.”           See N.T.

Trial, 5/12/15, at 20.1 With respect to these issues, Appellant presented the

testimony of Dr. Robert L. Perkel, whom the trial court accepted as an

expert in the field of family practice medicine. Id. at 99. Initially, Dr. Perkel

testified regarding: the effects of Coumadin; Ms. Baldwin’s atrial fibrillation

and her need for Coumadin; the proper therapeutic level of the drug; and,

the dangers inherent in taking Coumadin. As Dr. Perkel testified:

         Coumadin or warfarin is, simply put, a blood thinner. If you
         cut yourself [on] your arm, [] the higher the dose of
         Coumadin you’re taking and the higher the INR, the more
         difficult it is to stop the bleeding. In simple parlance, it is a
         blood thinner.

                                           ...

         It’s a blood thinner. It stops the blood from clotting at
         some level. And while if you don’t have an underlying
         medical problem, it’s not a good idea to have your blood too
         thin. If you do happen to have a particular type of medical
         problem, you reduce the chances of that underlying medical
____________________________________________


1
  During Appellant’s case in chief, Appellant presented no evidence that
defendant Diamond Pharmacy was negligent. Further, after the evidentiary
portion of the trial concluded (and over the objections of defendants Dr.
Assefa and Aster Assefa, M.D., P.C.), the trial court granted a directed
verdict in favor of defendant Diamond Pharmacy. N.T. Trial, 5/14/15, at
578-582.



                                           -5-
J-A16021-16


       problem causing major league trouble if you take Coumadin
       at an appropriate dose and have your blood thinned to the
       appropriate level.

                                    ...

       . . . [Ms. Baldwin] had atrial fibrillation and irregular
       heartbeat. . . .      [T]here’s no rhyme or reason for an
       irregular heartbeat. So, why is that bad? Because if you
       have an irregular heartbeat and it’s not regularly irregular .
       . . [i]t sets up currents in the heart.

       The heart, after all, is a cavity that has blood, liquid, and
       you’re supposed to have smooth laminar flow through the
       heart. But when you set up funny currents, called eddy
       currents, it’s like looking in a stream of a whirlpool. [It]
       gets pooled and that can cause the blood to clot.

       When the blood clots on the valves on the inside wall of the
       heart, it forms a clot. And with the disordered regulation of
       the heartbeat, it can flop off the thrombus or clot that
       travels up to the brain through the carotid circulation and
       becomes a sudden stroke. . . .

       So we use blood thinners in order to cut down on the clot or
       the thrombus on the valves and wall in the heart. . . .

       In a nutshell, that’s anticoagulation.    The art of using
       Coumadin is science and art. You have to be careful. You
       have to be precise. You have to be exact.

       . . . You and I, if we’re not taking Coumadin, have an INR
       [of] 1.0, 1.1[,] something like that. For each milligram of
       Coumadin you go up, the INR goes up. . . . [W]ith . . .
       atrial fibrillation of the heart, we’re aiming for a thinning
       amount of 2.0 to 3.0.

                                    ...

       [K]eep in mind that 2.0 to 3.0 is our goal. Below 2.0
       there’s an increase[d] chance of the patient forming clots.
       Clots are not good. Greater than 3.0 there is an increase[d]
       chance of bleeding. Bleeding is not good.


                                   -6-
J-A16021-16


       So it’s a balancing act between giving enough Coumadin to
       get them over 2.0 but yet not too much Coumadin to get
       them up above 3.0.

       And I guess the last piece I would say here in an
       introduction to blood clotting is that it’s clear, the scientific
       evidence is clear that bleeding risk goes up as the INR goes
       up. And the magic number to keep in mind is about an INR
       of 4.5. . . . 4.5 [is] a kind of magic number where serious
       and severe bleeding starts to increase dramatically, keep in
       mind that at the time of her hospitalization with the stroke
       on September 1st, [Ms.] Baldwin [had] a measured INR of
       7.3. That is dangerous territory for bleeding.

Id. at 101-106.

     Dr. Perkel also testified regarding the “art and science” of prescribing

Coumadin and achieving, in the patient, a therapeutic and safe INR of

between 2.0 and 3.0:

       So, in this case, the correct diagnosis was offered of atrial
       fibrillation and cardiomyopathy. And cardiologists in the
       hospitalization assumed the INR monitoring, appropriately
       started the patient on Coumadin to achieve an INR of 2.0 to
       3.0.

       . . . Now the hard part is actually how do you dose [the
       Coumadin], how do you do it?

       You start at low Coumadin doses like was done in this case,
       3 milligrams a day, 5 milligrams a day[,] whatever. Then
       you bring the patient back at frequent intervals. Usually
       when you start Coumadin, twice a week. You measure the
       INR. You get the INR back. You adjust the Coumadin dose.

       You bring – if you’re therapeutic at 2.0 to 3.0, if you’re
       subtherapeutic, below 2.0 as was the case here early on,
       1.0, 1.1, you bring the patient back. You increase the
       Coumadin dose. We usually start by increasing about 10 to
       15 percent the weekly dose.




                                     -7-
J-A16021-16


        You add up all the doses over seven days, you get a
        number. You take ten percent of that number and you
        increase one or two of the daily doses in order to get a ten
        percent rise in the weekly dose. You measure the INR once
        or twice a week or once a week until you reach a
        therapeutic INR of 2.0 to 3.0.

        So you keep doing that, you keep responding, going up and
        up slowly and carefully because you don’t want to get them
        too much Coumadin. Because remember, you’re on the
        bleeding end of the problem. And if you don’t give enough
        Coumadin, you’re on the clotting end of the problem.

        So it is an art based in science on that magic number of
        about ten percent. As long as the INR isn’t too low or if the
        INR isn’t too high, you can decrease by ten percent if you’re
        a bit over.      You keep doing that until you reach a
        therapeutic level of between 2.0 and 3.0.

        And then what most people like to do is get about weekly or
        every other week INR for the next couple of blood draws
        until you see that the patient is kind of in a steady state
        with keeping that INR therapeutic, between 2.0 and 3.0,
        and then you can drop down to safely doing INRs once a
        month.

Id. at 106-109.

     As Dr. Perkel testified, Ms. Baldwin began taking Coumadin in January

2010 and, from January 2010 until August 2010, Dr. Assefa managed Ms.

Baldwin’s Coumadin dose and INR appropriately. Id. at 118. Specifically,

Dr. Perkel testified, since Ms. Baldwin’s INR was subtherapeutic during the

period from January to August 2010, Dr. Assefa properly (and gradually)

increased Ms. Baldwin’s Coumadin dose from 21 milligrams per week to,

eventually, 57.5 milligrams per week. Id. at 116-121.

     Dr. Perkel testified that, on August 9, 2010, Ms. Baldwin came in to

Dr. Assefa’s office for another appointment and Dr. Assefa ordered that Ms.

                                    -8-
J-A16021-16



Baldwin take another blood test to discern her INR level. Ms. Baldwin did so

and, on August 12, 2010, it was revealed that Ms. Baldwin’s INR was 1.6 –

and, thus, still subtherapeutic. Id. at 127. Therefore, Dr. Perkel testified, a

medical assistant at Dr. Assefa’s office telephoned either Ms. Baldwin or Ms.

Baldwin’s husband and told the person, over the telephone, that Dr. Assefa

was prescribing an increase in Ms. Baldwin’s Coumadin dose, from 57.5

milligrams weekly to 60 milligrams weekly.       Id. at 128-129.    Dr. Perkel

testified that this four percent increase in Ms. Baldwin’s Coumadin dose was

“conservative” and within the standard of care. Id. at 128 and 130.

      However, Dr. Perkel testified, Dr. Assefa violated her standard of care

on August 17, 2010. As Dr. Perkel testified, on this date, Dr. Assefa gave a

written Coumadin prescription to Ms. Baldwin’s husband – with the apparent

intention of repeating the “dose adjustment that was made by telephone on

August 12th.” Id. at 130. Although Dr. Perkel acknowledged that he “never

[saw] those written prescriptions,” Dr. Perkel testified:

        the way [the prescription] was written by the pharmacist,
        interpreted by the pharmacist, taking it from the written
        prescription from Dr. Assefa, was now written as 7.5
        milligram [Coumadin] tablets . . . taken by mouth as
        directed. And the second prescription was [Coumadin] 10
        milligram tablets, one tablet taken every day as directed.

                                      ...

        Does that mean the same 7.5 that she had been taking
        Tuesday, Thursday, Friday, Saturday, Sunday, in the form
        of one and a half five milligram tablets? That’s the way I
        would interpret it.     And the way I would interpret 10
        milligram tablet size, it’s written one tablet taken every day

                                     -9-
J-A16021-16


       as directed means you now take a 10 milligram tablet every
       day.

       If you look at that prescription, the way it was written and
       the way I think it’s fair to interpret it, the math is going
       from 60 milligrams a week, which is what the telephone
       instructions were [on August 12, 2010], to a whopping 100
       milligrams per week based on a fair interpretation of the
       way those labels read.

       This is a lady who has an INR of 1.6. Not quite therapeutic.
       That represents a 67 percent increase in the weekly
       Coumadin dosing if you give it the most conservative
       interpretation of how that label was to be read.

       If, on the other hand, the patient reads the label as 7.5
       milligrams taken as directed to mean that you’re also
       supposed to take 7.5 milligrams every day, in addition to 10
       milligrams every day, . . . that gets us to 122.5 milligrams
       per week up from 60. That represents a 104 percent
       increase in Coumadin.

       I know that’s not what Dr. Assefa intended. No doctor in
       their right mind would write for either a 67 percent increase
       per week or a 104 percent increase per week when you
       have a patient already taking Coumadin who got an INR of
       1.6. No right thinking doctor would do that. . . . But sadly,
       in my estimate, that is a fair reading of the way the label
       got produced taken from the written prescription, because I
       don’t think it’s likely that the written prescription was as
       precise as it needed to be about stating . . . one 10
       milligram tablet Monday, Wednesday and Friday and one
       7.5 milligram tablet Tuesday, Thursday, Saturday and
       Sunday.

Id. at 131-133.

     Moreover, Dr. Perkel testified that Dr. Assefa violated the standard of

care on August 18, 2010.     On that date, pharmacist Andrea Billey, of

Diamond Pharmacy, telephoned Dr. Assefa’s office to ensure that Ms.

Baldwin’s written prescription was correct. Id. at 58. After speaking to a


                                  - 10 -
J-A16021-16



“Lisa” at Dr. Assefa’s office, Ms. Billey testified that she “clarified” that the

written prescription was correct – and Ms. Billey then dispensed the

Coumadin to the Baldwins, with the written instructions: “Warfarin Sodium

7.5 mg tablets.    Take one tablet by mouth as directed[]” and “Warfarin

Sodium 10 mg tablets. Take one tablet every day as directed.” Id. 58-59

and 72.

      Finally, Dr. Perkel testified that Dr. Assefa violated the standard of

care on August 26, 2010 – when Dr. Assefa provided Ms. Baldwin with

medical clearance to receive cataract surgery. According to Dr. Perkel, Dr.

Assefa should not have medically cleared Ms. Baldwin for this elective

surgery without first testing for and knowing Ms. Baldwin’s current INR. Id.

at 142-145.

      During Defendants’ case in chief, Defendants presented evidence that

Ms. Baldwin had a history of poor compliance with taking her prescription

medications, including her prior Coumadin prescriptions.         Defendants used

this history of poor compliance to first demonstrate that, even if Dr. Assefa

was   negligent   in   writing   the   August   17,   2010   prescription   and   in

communicating with the pharmacy on August 18, 2010, the negligence did

not cause Ms. Baldwin’s harm because a variety of things could have caused

Ms. Baldwin’s INR level to spike and Ms. Baldwin’s “poor medical compliance

makes predicting the exact warfarin dose prior to her death virtually

impossible.” N.T. Trial, 5/13/15, at 361-362 and 368. Indeed, Defendants

presented the expert medical testimony of Dr. Anthony Pizon and Dr. Pizon

                                       - 11 -
J-A16021-16



testified that, because of Ms. Baldwin’s history of poor compliance with

taking her prescribed Coumadin doses, Ms. Baldwin’s INR could have spiked

to 7.3, even if Ms. Baldwin was taking the 60 milligrams of Coumadin per

week that Dr. Assefa orally prescribed on August 12, 2010 – and that

Appellant’s own expert testified was a dosage that fell within the standard of

care. Id. at 348-349; N.T. Trial, 5/12/15, at 128 and 130.

        Further, Defendants used Ms. Baldwin’s history of non-compliance to

demonstrate that Ms. Baldwin was contributorily negligent in causing her

harm.      With respect to this point, Defendants presented the expert

testimony of Dr. Christopher O’Donnell.       Dr. O’Donnell testified that Ms.

Baldwin’s history of failing to take her prescribed doses of Coumadin placed

her “at risk of complications either from undertreatment or overtreatment,”

which, Dr. O’Donnell testified, is especially dangerous when dealing with

Coumadin because it “is so important to [achieve] a proper dose” of the

drug. N.T. Trial, 5/14/15, at 453-454.

        In addition, Dr. O’Donnell specifically testified that, in his opinion:

“Dr. Assefa managed the Coumadin therapy to the best of her ability given

the circumstances of the case;” Dr. Assefa was not negligent “in any aspect

of her treatment;” and, Dr. Assefa could not have done anything that would

have prevented Ms. Baldwin’s death. Id. at 448 and 468.




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J-A16021-16



       After the evidence was presented, the parties proceeded to a charging

conference where Dr. Assefa and Aster Assefa, M.D., P.C. requested a

comparative negligence instruction.2 Id. at 589. The trial court granted the

request over Appellant’s objection and, during the jury charge, the trial court

instructed the jury on comparative negligence. Id. at 589-591 and 648.

       The trial court then submitted to the jury a general verdict slip with

special findings. The verdict slip read:

                                    VERDICT SLIP

         Question 1:
           Was Dr. Assefa/Aster Assefa, M.D., P.C., negligent?
                      Yes ____ No ____

            If you answered             Question   1   “Yes”,   proceed   to
         Question 2.

             If you answered Question 1 “No”, Plaintiff cannot
         recover and you should not answer any further questions.
         Tell the court officer you have reached a verdict.

         Question 2:
            Was the negligence of Dr. Assefa/Aster Assefa, M.D.,
         P.C., a factual cause of any harm to the Plaintiff?
                          Yes ____ No ____

            If you answered             Question   2   “Yes”,   proceed   to
         Question 3.




____________________________________________


2
 Again, after the evidentiary portion of the trial concluded, the trial court
granted a directed verdict in favor of defendant Diamond Pharmacy. N.T.
Trial, 5/14/15, at 578-582.



                                          - 13 -
J-A16021-16


            If you answered Question 2 “No”, Plaintiff cannot
        recover and you should not answer any further questions.
        Tell the court officer you have reached a verdict.

        Question 3:
          Was Rhoda Baldwin negligent?
                    Yes ____ No ____

            If you answer Question 3 “Yes,” go to Question 4.

            If you answer Question 3 “No,” go to Question 6.

        Question 4:
            Was Rhoda Baldwin’s [sic] a factual cause of any harm
        to her?
                      Yes ____ No ____

           If you answered       Question       4   “YES,”[]   proceed   to
        Question 5[.]

           If you answered       Question       4[]   “NO,”    proceed   to
        Question 6[.]

        Question 5:
           Taking the combined negligence that was a factual
        cause of any harm to Rhoda Baldwin as 100 percent, what
        percentage of that negligence do you attribute to each
        party?

            Dr. Assefa/Aster Assefa, M.D., P.C.           ______%

            Rhoda Baldwin                                 ______%

        Question 6:
            State the amount of damages sustained by the plaintiff
        for:

            Survival Action:                              $_______

            Wrongful Death Action:                        $_______

Verdict Slip, dated 5/14/15, at 1-2.




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J-A16021-16



       On May 14, 2015, the jury arrived at its verdict. In open court, the

jury announced “no” to “Question number [one], was Dr. Assefa slash Aster

Assefa, M.D., P.C. negligent?” N.T. Trial, 5/14/15, at 673. Moreover, the

jury’s signed verdict slip reflects the announced verdict: the jury checked

“No” to “Question 1” and, in accordance with the instructions, did not

proceed further. See Verdict Slip, dated 5/14/15, at 1-2.

       Appellant filed a timely post-trial motion3 and, within the motion,

Appellant claimed that the trial court erred in denying the motions in limine

she filed, wherein she sought to preclude evidence that, prior to August 17,

2010, Ms. Baldwin had been non-compliant with taking her Coumadin

medications.     Appellant’s Post-Trial Motion, 5/26/15, at 1-3.   Specifically,

Appellant’s post-trial motion declares that the trial court committed error

because:

         The defense was overwhelmingly based upon “character
         evidence” of [Ms. Baldwin]; specifically, that during the
         period from January 1, 2010 until August 17, 2010[, Ms.
         Baldwin] had been noncompliant with taking the exact
         prescribed dose of Coumadin during said period.        The
         [d]efense argument was that because [Ms. Baldwin] had
         been non-compliant with earlier Coumadin prescriptions, a
         determination of how much Coumadin was taken
         subsequently was impossible to make. [Appellant] filed a
         motion in limine arguing that said evidence was improperly
         based on character evidence of [Ms. Baldwin] and was
         entirely irrelevant and prejudicial to the issue of whether
         [Ms. Baldwin] was prescribed an excessive dose of
____________________________________________


3
 Appellant filed her post-trial motion on Tuesday, May 26, 2015.           The
motion was timely because Monday, May 25, 2015 was Memorial Day.



                                          - 15 -
J-A16021-16


          Coumadin on August 17, 2010, and whether [Ms. Baldwin]
          had an excessive amount of Coumadin in her blood at the
          time of her stroke on September 1, 2010. Said motion was
          denied and substantial evidence was offered based upon
          [Ms. Baldwin’s] character of failing to take the prescribed
          dose during periods of time before the erroneous
          prescription was made.

          The defense experts including Dr. Pizon, a toxicologist,
          based his entire opinion on character evidence of [Ms.
          Baldwin].    Specifically[,] Dr. Pizon testified that it was
          impossible to know how much Coumadin was in [Ms.
          Baldwin’s] system despite an INR reading that was critically
          high, because [Ms. Baldwin] had shown a pattern of
          noncompliance prior to August 17, 2010.            The same
          opinions were offered by [Appellant’s] other expert Dr.
          O’Donnell who claimed that [Ms. Baldwin’s] noncompliance
          with earlier prescription medications made it impossible to
          determine the amount of Coumadin in her system at the
          time of her fatal hemorrhagic stroke. [Appellant] filed
          motions in limine asking that the testimony of said experts
          be excluded since it was based upon the improper character
          evidence and said motion was denied.

Id. at ¶¶ 5-6.

        On May 28, 2015, the trial court issued a scheduling order, declaring

that Appellant’s brief in support of her post-trial motion must be filed by

June 16, 2015. Trial Court Order, 5/28/15, at 1. Appellant filed her brief in

support of her post-trial motion on June 16, 2015. Within Appellant’s brief

in support, Appellant attempted to raise a claim of error that was not

contained in her post-trial motion.     The new claim of error concerned the

trial court’s comparative negligence jury charge and declared:         “the trial

court    erred   in   admitting   character    evidence   of   Rhoda   Baldwin’s

noncompliance with taking her medications, specifically from January 1,

2010 through August 17, 2010, and therefore also erred in charging the jury

                                      - 16 -
J-A16021-16



on Rhoda Baldwin’s comparative negligence.” Appellant’s Brief in Support of

Post-Trial Motion, 6/16/15, at 5.

       The trial court denied Appellant’s motion by order entered July 29,

2015 and, following the August 3, 2015 entry of judgment, Appellant filed a

timely notice of appeal.

       On appeal, Appellant raises one claim:

         Whether the trial court erred in denying [Appellant’s] post-
         trial motion for a new trial after the trial court admitted
         character evidence of Rhoda Baldwin’s past noncompliance
         with taking her medications, and therefore, erred in
         charging the jury on Rhoda Baldwin’s comparative
         negligence[?]

Appellant’s Brief at 7.4

       At the outset, Appellant waived any claim that the trial court “erred in

charging the jury on Rhoda Baldwin’s comparative negligence,” as Appellant

failed to include the claim in her post-trial motion. See Pa.R.C.P. 227.1(b)

____________________________________________


4
  Within the argument section of Appellant’s brief, Appellant lists a second
claim. The second claim declares: “the evidence of Rhoda Baldwin’s past
noncompliance does not rise to the level of admissible habit evidence, and it
cannot be used to show a ‘lack of habit’ in taking medication because a lack
of habit is equivalent to a character for not taking medication.” Appellant’s
Brief at 22. Although this specific claim was not contained in Appellant’s
statement of questions involved on appeal, the claim is essentially subsumed
within Appellant’s first claim – that the trial court erred in “admit[ting]
character evidence of Rhoda Baldwin’s past noncompliance with taking her
medications.” Appellant’s Brief at 7. Therefore, even though we will not
separately discuss Appellant’s second claim on appeal, the claim is not
technically waived.      See Pa.R.A.P. 2116(a) (“[n]o question will be
considered unless it is stated in the statement of questions involved or is
fairly suggested thereby”).



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(“post-trial relief may not be granted unless the grounds therefor . . . are

specified in the motion.       Grounds not specified are deemed waived unless

leave is granted upon cause shown to specify additional grounds”);

Diamond Reo Truck Co. v. Mid-Pacific Indus., Inc., 806 A.2d 423, 428

(Pa. Super. 2002) (“[i]f an issue has not been raised in a post-trial motion, it

is waived for appeal purposes”) (internal quotations and citations omitted).

Moreover, even though Appellant included the claim in her “brief in support

of post-trial motion,” a brief is not a motion. Thus, Appellant’s inclusion of

the claim in her brief did not preserve the claim of error. 5 Commonwealth

v. Gravely, 404 A.2d 1296, 1297 (Pa. 1979) (declaring: issues that were

omitted from the post-verdict motion are waived, even if they were

contained in the supporting brief and considered by the trial court); Cherry

v. Willer, 463 A.2d 1082, 1084 (Pa. Super. 1983) (“only issues specifically

raised in post-verdict motions can be considered and will be preserved for

appeal, and issues raised only in briefs in support of those motions may not

be considered”); In re Trust of Bachman, 488 A.2d 27, 29 (Pa. Super.

1985) (“issues not included in exceptions or petitions will not be preserved

by virtue of their having been argued in the supporting brief or at oral

argument”); Siculietano v. K &amp; B Amusements Corp., 915 A.2d 130,


____________________________________________


5
  Further, Appellant filed her brief over one month after the verdict in this
case. See Pa.R.C.P. 227.1(c)(1) (“[p]ost-trial motions shall be filed within
ten days after . . . verdict”).



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J-A16021-16



132-133 (Pa. Super. 2006) (even though appellants raised their claim in

their brief in support of post-trial motion, the claim was waived on appeal

because appellants failed to specifically raise the claim in their post-trial

motion). Therefore, the claim is waived.

      The only claim that Appellant properly preserved for appeal is her

claim that the trial court erred in denying her motions in limine and

“admit[ting] character evidence of Rhoda Baldwin’s past noncompliance with

taking her medications.” Appellant’s Brief at 7. This claim fails.

      “When reviewing a ruling on a motion in limine, we apply an

evidentiary abuse of discretion standard of review.”      Commonwealth v.

Parker, 104 A.3d 17, 21 (Pa. Super. 2014) (citation omitted).

        Admission of evidence is within the sound discretion of the
        trial court and a trial court’s rulings on the admission of
        evidence will not be overturned absent an abuse of
        discretion or misapplication of law. An abuse of discretion is
        not merely an error of judgment, but if in reaching a
        conclusion the law is overridden or misapplied, or the
        judgment exercised is manifestly unreasonable, or the
        result of partiality, prejudice, bias or ill-will, as shown by
        the evidence or the record, discretion is abused.

        To constitute reversible error, an evidentiary ruling must
        not only be erroneous, but also harmful or prejudicial to the
        complaining party. . . . A party suffers prejudice when the
        trial court's error could have affected the verdict.

Schuenemann v. Dreemz, LLC, 34 A.3d 94, 100-101 (Pa. Super. 2011)

(internal quotations and citations omitted); see also B &amp; L Asphalt Indus.

v. Fusco, 753 A.2d 264, (Pa. Super. 2000) (“[a]n evidentiary ruling which




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J-A16021-16



[does] not affect the verdict will not provide a basis for disturbing the fact-

finder’s judgment”) (internal quotations, citations, and corrections omitted).

      In the case at bar, Appellant’s claim immediately fails because – even

assuming, arguendo, that the trial court erred in admitting evidence of Ms.

Baldwin’s past noncompliance with taking her medication – the asserted

error was harmless.

      Here, “evidence of Rhoda Baldwin’s past noncompliance with taking

her medications” could only have affected the issues of causation and

comparative negligence. Yet, the jury in this case specifically found that Dr.

Assefa and Aster Assefa, M.D., P.C. were not negligent.         Thus, as to the

effect of the challenged evidence on Ms. Baldwin’s comparative negligence,

the admission of the evidence could not have affected the verdict because,

under Pennsylvania law, “where a jury finds no negligence on the part of a

defendant, purported error regarding questions of comparative and/or

contributory negligence are not prejudicial and cannot serve as a basis for

the award of a new trial.” Boyle v. Indep. Lift Truck, Inc., 6 A.3d 492,

496 (Pa. 2010) (citations omitted); Whitton v. H.A. Gable Co., 200 A. 644,

646 (Pa. 1938) (“as the jury found no negligence on the part of appellee the

question of contributory negligence passes out of the case, and any error in

the charge in this respect would not have been prejudicial”).

      Further, as to the effect of the challenged evidence on the issue of

causation, again, the jury found that Dr. Assefa and Aster Assefa, M.D., P.C.

were not negligent. Therefore, as a matter of law, the evidence could not

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J-A16021-16



have impacted the jury’s determination regarding whether Dr. Assefa and

Aster Assefa, M.D., P.C. deviated from the standard of care in the treatment

of Ms. Baldwin. The asserted error is, thus, harmless.   See Parr v. Ford

Motor Co., 109 A.3d 682, 697 (Pa. Super. 2014) (en banc) (error in

admission of causation evidence was harmless as the jury did not reach the

issue of causation).

      Accordingly, the admission of evidence regarding Ms. Baldwin’s past

noncompliance with taking her medications did not contribute to the jury’s

verdict.   As any error in admitting the challenged evidence was harmless,

Appellant is not entitled to relief.

      Judgment affirmed.

Judgment Entered.




Joseph D. Seletyn, Esq.
Prothonotary



Date: 11/17/2016




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